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13
                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
14
     ALISHA LAWHORN, on behalf of herself           ) Case No. 3:13-cv-01171-JLS-NLS
15   and all others similarly situated,             )
16
                                                    ) JOINT REQUEST TO DISMISS WITH
     Plaintiff,                                     ) PREJUDICE
17                                                  )
             vs.                                    )
18
                                                    )
19
     MEDICREDIT, INC., and DOES 1 through           )
     10, inclusive, and each of them,               )
20                                                  )
     Defendants.                                    )
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                                         Stipulation to Dismiss- 1
     Case 3:13-cv-01171-JLS-NLS Document 31 Filed 01/08/14 PageID.249 Page 2 of 3



           NOW COME THE PARTIES by and through their attorneys to respectfully move
 1

 2   this Honorable Court to dismiss with prejudice this matter pursuant to Federal Rules of

 3   Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and expenses. A
 4
     proposed order has been concurrently submitted to this Court via email.
 5
                         Respectfully submitted this 8th day of January, 2014.
 6

 7
                                         By: s/ Todd Friedman___________
                                              Todd Friedman
 8                                            Law Offices of Todd M. Friedman, P.C.
                                              Attorneys for Plaintiff
 9                                            ALISHA LAWHORN
10
                                          By: s/James C. Vlahakis_________
11                                            James C. Vlahakis
                                              Hinshaw & Culbertson, LLP
12
                                              Attorney for Defendant
13                                            MEDICREDIT, INC

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                                        Stipulation to Dismiss- 2
     Case 3:13-cv-01171-JLS-NLS Document 31 Filed 01/08/14 PageID.250 Page 3 of 3




 1               Certification of Compliance with C.D. Cal. L.R. 5-4.3.4
 2         I hereby certify that pursuant to C.D. Cal. L.R. 5-4.3.4, I have obtained the
 3   authorization from the above signatories to file the above-referenced document,
 4   and that the above signatories concur in the filing’s content.
 5
           I certify under penalty of perjury under the laws of the United States of
 6
     America that the foregoing is true and correct. Executed on September 30, 2013.
 7

 8                                    By: s/ Todd Friedman___________
                                              Todd Friedman
 9
                                              Law Offices of Todd M. Friedman, P.C.
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                                       Stipulation to Dismiss- 3
